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                        THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

KEVIN SIMMONS, BILLIE OVERSTREET,
AND JAMES YOUNG, Each Individually and
on Behalf of All Others Similarly Situated                                     PLAINTIFFS

v.                             Case No. 4:20-cv-00137-KGB

USABLE CORPORATION                                                             DEFENDANT

                                        JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that

defendant USAble Mutual Insurance Company’s (“USAble”) motion for summary judgment is

granted. Judgment is entered in favor of USAble. The relief requested by plaintiffs Kevin

Simmons, Billie Overstreet, James Young, S. Todd Miller, Scott Cavanaugh, and Janel Broadhurst

is denied.

       So adjudged this 30th day of September, 2021.


                                                  _________________________________
                                                  Kristine G. Baker
                                                  United States District Judge
